    Case 1:19-cr-00408-AMD Document 22 Filed 09/10/19 Page 1 of 1 PageID #: 73
                       MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG.JUDGE            Lois Bloom                                   DATE : 9/10/19

DOCKET NUMBER:           19CR408fSJ'l                                LOG # :

DEFENDANT'S NAME :            Michael Herskowitz                       x
                            27Present             Not Present        \/ Custody             Bail
DEFENSE COUNSEL:            Dominic Addabbo                                 ^
                                   Federal Defender        CJA             y/ Retained
A.U.S.A:    Shannon Jones                                  CLERK:        Felix Chin

INTERPRETER :                                             tLanguage)

yf Defendant arraigned on the : v/ indictment          superseding indictment         probation violation
      Defendant pleads NOT GUILTY to ALL counts.
      DETENTION HEARING Held.                     Defendant's first appearance.
        y     Bond set at    -It                       . Defendant         released        held pending
       /satisfaction of bond conditions.
              Defendant advised of bond conditions set by the Court and signed the bond.
              Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
             (Additional) surety/ies to co-sign bond by
              After hearing, Court orders detention in custody.          Leave to reopen granted
      Temporary Order of Detention Issued. Bail Hearing set for

     At this time, defense counsel states on the record that the defendant does not have a bail
     application / package. Order of detention entered with leave to reapply to a Magistrate
     or to the District Court Judge to whom the case will be assigned.

 yj Order of Excludable Delay/Speedy Trial entered. Start                           Stop
       Medical memo issued.


       Defendant failed to appear, bench warrant issued.

      Status conference set for            I^         @ (t           before Judge
Other Rulings :
